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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION
     RAEANN BAYLESS,                   )
                                       )
     Plaintiff,                        )
                                       )
     v.                                ) CASE NO: 6:20-cv-831-Orl-37GJK
                                       )
     BOSTON SCIENTIFIC CORPORATION;    )
     and COLOPLAST CORP.,              )
                                       )
     Defendant.                        )
                 DEFENDANT BOSTON SCIENTIFIC’S DISPOSITIVE
         MOTION FOR SUMMARY JUDGMENT AND MEMORANDUM IN SUPPORT

             This product liability action was directly filed in the United States District Court for

     the Southern District of West Virginia in In re: Boston Scientific Corp., Pelvic Repair System

     Products Liability Litigation, MDL 2326, and transferred to this Court on April 28, 2020 (Doc.

     51). Plaintiff asserts claims against Boston Scientific and Coloplast Corp. arising out of her

     pelvic floor surgery, which involved the implantation of two medical devices: Boston Scien-

     tific’s Advantage Fit™ Transvaginal Mid-Urethral Sling System (“Advantage Fit”) and Colo-

     plast’s Restorelle® Y (“Restorelle Y”). Pursuant to Federal Rule of Civil Procedure 56 and

     Local Rule 3.01, Boston Scientific is entitled to summary judgment as to all claims alleged in

     Plaintiff’s Short Form Complaint (Doc. 1), 1 for the following reasons:

         •   All claims. Plaintiff cannot establish causation because her expert’s opinions are inad-
             missible under Daubert and her expert’s testimony does not create a genuine issue of
             material fact with regard to specific causation.


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       As confirmed by Plaintiff’s counsel, Jeff Haberman, by telephone on September 30, 2020,
     Plaintiff has agreed to drop her claims for manufacturing defect as it pertains to Count I (neg-
     ligence) and Count III (strict liability), and the entirety of Count VII (discovery rule, tolling,
     fraudulent concealment). Accordingly, these claims are not addressed in this motion,




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          •   Failure to Warn (Count I: Negligence and Count IV: Strict Liability – Failure to
              Warn). Plaintiff’s failure-to-warn claims (whether based on strict liability or negli-
              gence) fail because Boston Scientific adequately warned Plaintiff’s implanting surgeon
              (the learned intermediary) of the risks that Plaintiff claims to have experienced, and
              Plaintiff’s surgeon had independent knowledge of those risks.

          •   Plaintiff’s claim for punitive damages (Count IX: Punitive Damages). Under Flor-
              ida’s choice-of-law rules, the law of Massachusetts (where Boston Scientific is head-
              quartered and made its decisions concerning the design, labeling, marketing, and dis-
              tribution of the Advantage Fit) governs Plaintiff’s punitive damages claim. Plaintiff’s
              punitive damages claim fails as a matter of law under Massachusetts law, which bars
              punitive damages unless expressly authorized by statute.

              As discussed in depth below, the Court should grant final summary judgment as to all

     claims alleged against Boston Scientific.

     I.       STATEMENT OF MATERIAL UNDISPUTED FACTS

              A.     The Advantage Fit sling

              Boston Scientific manufactures and markets the Advantage Fit, a prescription medical

     device that was cleared by the Food and Drug Administration (“FDA”) in 2002. See Advantage

     Fit FDA Clearance Letter, BSCM00100000002-04, attached as Exhibit A. The Advantage Fit

     is a midurethral polypropylene mesh sling surgically implanted by a physician for the treatment

     of stress urinary incontinence (“SUI”). See Advantage Fit System Directions for Use,

     BSCM00800000546–597, attached as Exhibit B, at 2. The Advantage Fit is available by pre-

     scription only. See id.

              Federal regulations dictate the manner and content of warnings that must accompany a

     medical device sold in the United States. See 21 C.F.R. 801.109. As required by federal regu-

     lations, the Advantage Fit is accompanied by a package insert known as the Directions for Use,

     or the DFU. See id. The Advantage Fit DFU outlines the product’s intended use, operational

     instructions, and contraindications. Ex. B at 2–3. It also provides multiple warnings, including




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     both general warnings and a list of possible adverse events associated with the midurethral

     sling placement. Id. at 3–4.

             At the time of Plaintiff’s 2013 implantation surgery, the DFU provided as follows:




     Id. at 4.

             B.     Plaintiff’s medical history, implantation surgery, and treatment.

             The Plaintiff had multiple pelvic conditions related to the relevant surgeries here:

     (1) uterine prolapse (a fallen uterus, a type of pelvic organ prolapse (“POP”)); (2) cystocele (a

     prolapsed or fallen bladder, a type of POP); and (3) SUI, as well as a history of many other

     medical issues including rectocele (herniation of the rectal wall into the vagina), fecal




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     incontinence, diverticular disease, hypertension, 30-year tobacco abuse, hepatitis C, gonorrhea

     and other STDs, 25-year cocaine drug abuse, nine prior pregnancies, hot flashes, pain with

     intercourse, gallbladder/gallstones surgery, tubal ligation, abdominal adhesions, and others.

     See Case-Specific Report of Dr. Bruce Rosenzweig, dated June 4, 2016, attached as Exhibit

     C, at 3–5; Deposition of Dr. Bruce Rosenzweig, dated August 17, 2020, attached as Exhibit

     D, at 60:23–72:16; Deposition of Dr. Kathy Y. Jones, dated September 12, 2018, attached as

     Exhibit E, at 25:8–26:13, 28:14–29:5, 32:8–11, 49:9-20; Plaintiff Raeann Bayless’ Medical

     Records, attached as Exhibit F, at BAYLESSR PLTF 000003–10, 000065, 000202–06.

            Ms. Bayless’s multiple pelvic conditions were diagnosed after she was evaluated by

     urogynecologist Dr. Kathy Jones in 2012–2013. Ex. E at 25:8–26:13, 28:14–29:5. Ms. Bayless

     signed extensive consent forms which identified the risks associated with the pelvic floor sur-

     gery and, specifically, the risks associated with the surgical implantation of a synthetic mesh

     sling like the Advantage Fit. Deposition of Raeann Bayless, dated June 6, 2018, attached as

     Exhibit G, at 85:3–86:4 and Ex. 2 thereto (attached as Exhibit H to this submission). The

     signed consent forms warn of every complication that Ms. Bayless (and her expert) now com-

     plain of in this lawsuit—vaginal exposure/erosion, infection, bleeding, and dyspareunia (pain-

     ful intercourse). Ex. H at 1, 4–5. In addition to the consent forms, Dr. Jones testified that she

     discussed the risks and benefits of the Advantage Fit sling with Ms. Bayless at every encounter,

     and would have discussed the risks in detail at the preoperative appointment. Ex. E at 31:21–

     25, 32:15–33:4. Despite being warned of the risks associated with the pelvic floor surgery and

     medical devices, Ms. Bayless opted to undergo surgery utilizing the Advantage Fit and Re-

     storelle Y. Ex. E at 27:21–29:5, 31:12–15; Ex. G at 82:6–83:13.




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            On August 9, 2013, Dr. Jones performed two procedures: one to address Ms. Bayless’s

     pelvic organ prolapse (POP) and another to address her SUI. For reference, the normal anatomy

     (without Ms. Bayless’s issues) is as follows:




            First, to address Ms. Bayless’s POP, Dr. Jones used laparoscopic abdominal surgery to

     perform several procedures, including hysterectomy (removal of the uterus and cervix, which

     had been prolapsing into the vaginal canal), anterior colporrhaphy (repair of the cystocele with

     sutures), and “sacrocolpopexy” (a procedure to preserve the vagina’s position within the ab-

     domen after removal of the uterus and cervix, keeping the vaginal vault from collapsing). 2 Ex.

     E at 79:7–20, 97:21:25, 105:6-10; Ex. F at BAYLESSR_PLTF_000031-32, 000056-58,

     000065-69. The sacrocolpopexy was performed using Coloplast’s Restorelle Y-mesh, a forked

     ribbon of polypropylene mesh. In this procedure, after the uterus and cervix are cut away from

     their supporting ligaments and from the muscular tube of the vagina and removed, the cut edges



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       The term “sacrocolpopexy” looks daunting, but just means tethering (“-pexy”) the vagina
     (“-colpo-”) to the tailbone ligament (“sacro-”).




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     of the top (or “cuff”) of the vaginal canal are sewn (sutured) together to close the apex; then

     the two arms of the Y-mesh are sutured to the front (anterior) and back (posterior) surfaces of

     the vagina near the apex; and finally the tail of the Y-mesh is sutured to the sacral (tailbone)

     ligament, to flexibly suspend the vagina within the abdomen, restoring the vagina to its normal

     position. Ex. E at 105:21–111:21; Ex. F at BAYLESSR_PLTF_000055, 000066–67. These

     procedures, including repair of uterine prolapse, are illustrated and described in a brochure

     prepared by the American Urogynecologic Society, attached as Ex. I (available at

     https://www.voicesforpfd.org/assets/2/6/Sacrocolpopexy.pdf).Second, to relieve Ms. Bay-

     less’s SUI (urine leakage), Dr. Jones performed a transvaginal procedure, which was simpler

     and completely separate from the abdominal procedures used to treat her prolapse issues. Using

     a tiny vaginal incision between Ms. Bayless’s labia and next to her urethral opening, Dr. Jones

     implanted an Advantage Fit midurethral sling under her urethra to support it. Ex. F at BAY-

     LESSR_PLTF_000068. This procedure is illustrated and described in a brochure prepared by

     the American Urogynecologic Society, attached as Exhibit J (available at https://www.voic-

     esforpfd.org/assets/2/6/Mid-urethral_Sling.pdf).

            Plaintiff’s first post-operative visit—occurring six weeks after surgery—notes that Ms.

     Bayless’s incision at the top of the vaginal canal (where the Coloplast Restorelle Y product

     had been placed) had not healed. Ex. F BAYLESSR_PLTF_00214–00216. Ms. Bayless there-

     after intermittently complained to her health care providers of pain near the top of her vagina

     or abdomen, vaginal bacterial infections, and irregular bleeding after intercourse. Ex. F at

     BAYLESSR_BHA_MDR00004–00017                 and    00034–00046;      BAYLESSR_PARRMC_




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     MDR00045–00051, 00116–00122, and 00177–00180. To date, Plaintiff has produced no evi-

     dence of undergoing any additional surgeries related to her pelvic complaints.

            Plaintiff now contends that she suffers from mesh exposure or erosion in her vagina,

     which causes pain, infections, and bleeding with intercourse. Ex. G at 52:20–23, 102:13–

     103:11, 110:10–111:25; Plaintiff Amended Fact Sheet, attached as Exhibit K, at 7–8.

            C.      Procedural history.

            Plaintiff filed her Complaint in MDL 2326 on February 5, 2016 (Doc. 1). After transfer

     to this Court, Plaintiff withdrew her Breach of Express Warranty and Breach of Implied War-

     ranty claims (Doc. 97), and has now agreed to drop her manufacturing defect claims (Counts I

     and III) and Count VII (see n.1 above), leaving the following claims against both defendants:

     Negligence (Count I); Strict Liability – Design Defect (Count II); Strict Liability – Failure to

     Warn (Count IV); and Punitive Damages (Count IX). This Court authorized the parties to de-

     pose case-specific experts and set a deadline of October 1, 2020 for dispositive and Daubert

     motions (Doc. 98). Fact and expert discovery is now closed.

            D.      Plaintiff’s expert testimony on specific causation.

            Plaintiff has disclosed one expert, Dr. Bruce Rosenzweig, to opine on specific causa-

     tion. See Plaintiffs’ Designation and Disclosure of Case-Specific Expert Witnesses, attached

     as Exhibit L. Boston Scientific requested Dr. Rosenzweig’s deposition on this report during

     the MDL proceedings (see Boston Scientific’s Notice of Videotape Deposition Duces Tecum

     of Dr. Bruce Rosenzweig, dated Oct. 3, 2018, attached as Exhibit M), but Dr. Rosenzweig

     was not produced for deposition about his case-specific opinions until August 17, 2020, after

     remand. See Ex. D. In his case-specific report, Dr. Rosenzweig states that based on his review




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     of Ms. Bayless’s medical records, she has suffered “mesh erosions/exposures, vaginal bleeding

     and infection” resulting from both the Coloplast Restorelle Y-mesh used in her POP surgery

     and the Boston Scientific Advantage Fit sling used in her SUI surgery. Rosenzweig case-spe-

     cific report, Ex. C at 9–10. At his August 17, 2020 deposition, however, Dr. Rosenzweig tes-

     tified that the mesh exposure and other issues involved only the Restorelle Y-mesh (used at

     the apex of the vagina), and not the Advantage Fit mesh sling (implanted under the urethra in

     the distal area of the vagina near its opening). Ex. D at 207:12–209:22; 213:7–15. Specifically,

     Dr. Rosenzweig testified:

                    [The erosion was] at the apex. More likely than not that was the
                    Restorelle Y-mesh.
                    ....
                    [M]ore likely than not the erosions, the vaginal discharge and
                    the bleeding is from the Restorelle Y-mesh.
                    ....
                    She had no problems healing the site where the [Advantage Fit]
                    sling was placed, [or] where the ports were placed for the robotic
                    surgery. The only place where she did not — where she had
                    mesh exposure . . . was with the Restorelle Y-mesh.
                    ....
                    The only finding was that there was mesh erosion from the Y-
                    mesh.

     Id. at 207:24–208:1, 209:16–18, 213:10–15, 221:8–9. Dr. Rosenzweig repeatedly testified that

     the incision at the apex of Ms. Bayless’s vagina—where its cut edges were sutured together

     after removal of the uterus and cervix—separated, exposing the Restorelle Y mesh. Id. at

     151:17–18, 177:2–15, 181:1–22. He also testified that there was erythema (redness, inflamma-

     tion) only where the Restorelle Y was attached. Id. at 292:22–293:22. With respect to the Ad-

     vantage Fit, Dr. Rosenzweig agreed that Ms. Bayless was “quite satisfied with the sling sur-

     gery.” Id. at 294:23. Although he believed that the Advantage Fit contributed “secondarily” to




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     Plaintiff’s claimed dyspareunia (painful intercourse) as a “minimal contributor” (id. at 211:1–

     8, 287:4–9, 290:9–291:3), he acknowledged that “[t]here is no specific medical record or tes-

     timony that links the dyspareunia to the Advantage Fit.” Id. at 295:7–8.

     II.    SUMMARY JUDGMENT STANDARD

            Summary judgment is proper when “there is no genuine dispute as to any material fact

     and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56; Celotex Corp.

     v. Catrett, 477 U.S. 317, 322-23 (1986). Summary judgment “is properly regarded not as a

     disfavored procedural shortcut, but rather as an integral part of the Federal Rules as a whole,

     which are designed to ‘secure the just, speedy and inexpensive determination of every action.’”

     Celotex, 477 U.S. at 327 (quoting Fed. R. Civ. P. 1). Not every factual dispute will prevent

     summary judgment: there must at a “genuine dispute of material fact.” See Anderson v. Liberty

     Lobby, Inc., 477 U.S. 242, 248-49 (1986) (emphasis in original). Although the Court must

     review the evidence in the light most favorable to the non-moving party, the non-moving party

     is required to do more than show some “metaphysical doubt as to the material facts.” Matsu-

     shita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). Conclusory alle-

     gations or unsupported speculation is insufficient to preclude the granting of a summary judg-

     ment motion. Cordoba v. Dillard’s Inc., 419 F.3d 1169, 1181 (11th Cir. 2005).

     III.   ARGUMENT

            A.      Plaintiff cannot establish specific causation as to any of her claims.

            To prevail on claims of negligence and strict liability, Plaintiff must establish both that

     the product was defective and that that defect was the proximate cause of her injuries. Dimieri

     v. Medicis Pharms. Corp., 2014 WL 3417364, at *5 (M.D. Fla. July 14, 2014) (Polster




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     Chappell, J.) (dismissing failure to warn, design defect and manufacturing defect claims for

     lack of proof of injury-causing defect). With respect to the causation element, a plaintiff must

     show both that exposure to the product can cause a particular injury (general causation), and

     that exposure to the product was a cause of her individual injury (specific causation). Guinn v.

     AstraZeneca Pharm. LP, 598 F. Supp. 2d 1239, 1242 (M.D. Fla. 2009) (Conway, J.) (“Guinn

     I”), aff’d, 602 F.3d 1245 (11th Cir. 2010) (“Guinn II”). Thus, in this action, Ms. Bayless must

     establish that the Advantage Fit can generally cause the kinds of injuries she complains of and

     that the Advantage Fit was in fact a specific cause of her complaints. Because causation here

     involves complex medical questions, Plaintiff must prove causation through expert testimony.

     Salinero v. Johnson & Johnson, 400 F. Supp. 3d 1334, 1343 (S.D. Fla. 2019). Causation must

     be proved “to a reasonable degree of medical certainty.” Small v. Amgen, Inc., No. CV 2:12-

     476-PAM-MRM, 2017 WL 5444003, at *3 (M.D. Fla. Mar. 22, 2017) (Magnuson, J.), aff’d,

     723 F. App’x 722 (11th Cir. 2018).

            Plaintiff’s sole expert on the issue of specific causation is Dr. Bruce Rosenzweig. If the

     Court excludes Dr. Rosenzweig’s case-specific opinions based upon Boston Scientific’s Mo-

     tion to Exclude filed contemporaneously with this motion, summary judgment should be

     granted in favor of Boston Scientific. Guinn II, 602 F.3d at 1256 (upholding summary judg-

     ment based upon the exclusion of the Plaintiff’s sole expert as to specific causation).

            Even if the Court rules that Dr. Rosenzweig’s opinions are admissible under Daubert,

     summary judgment should nonetheless be granted because his testimony does not create a gen-

     uine issue of material fact with regard to specific causation. See Guinn II, 602 F.3d at 1256.

     Under Florida law, the mere possibility that a product caused Plaintiff’s injury is not enough.




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     McCasland v. Pro Guard Coatings, Inc., No. 8:17-CV-990-T-27AEP, 2018 WL 5786164, at

     *2 (M.D. Fla. Nov. 5, 2018) (Whittemore, J.), aff’d, 799 F. App’x 731 (11th Cir. 2020). Rather,

     “Florida courts follow the ‘more likely than not standard for causation in products liability

     actions.’” Id. See also Cox v. St. Josephs Hosp., 71 So. 3d 795, 799–800 (Fla. 2011) (“Florida

     follows the ‘more likely than not’ standard in proving causation,” and this standard “applies to

     medical experts.”). Plaintiff must therefore prove causation by “evidence which affords a rea-

     sonable basis for the conclusion that it is more likely than not that the conduct of the defendant

     was a substantial factor in bringing about the result.” McCasland, 2018 WL 5786164, at *2.

     (emphasis in original) (citing Guinn I, 598 F. Supp. 2d at 1242); Guinn II, 602 F.3d at 1256

     (citing Gooding v. Univ. Hosp. Bldg., 445 So. 2d 1015, 2018 (Fla. 1984)). When a plaintiff is

     unable to establish that the product was more likely than not a substantial factor in bringing

     about the Plaintiff’s injury, summary judgment should be granted in favor of the defendant.

     Guinn II, 602 F.3d at 1257.

            Although Dr. Rosenzweig opined in his expert report that Plaintiff’s injuries were

     caused by mesh erosion of both the Advantage Fit and Restorelle Y, Ex. C at 9 ¶ 1, he conceded

     at his deposition that nothing in Plaintiff’s medical records links any of her complaints to Bos-

     ton Scientific’s Advantage Fit sling. Id.; Ex. D at 294:23, 295:7–8. When asked in deposition

     whether he “attribute[d] Ms. Bayless’s alleged symptoms to both the Advantage Fit and the

     Restorelle Y-mesh,” he testified that “more likely than not the erosions, the vaginal discharge

     and the bleeding is from the Restorelle Y-mesh.” Ex. D at 207:24–208:1, 209:16–18, 213:10–

     15, 221:8–9.




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            As for Plaintiff’s claim of dyspareunia/painful intercourse (which is not mentioned in

     Dr. Rosenzweig’s report), he posited at his deposition that the Advantage Fit may be a “mini-

     mal contributor” to that condition, id. at 211:1–8, 287:4–9, 290:9–291:3, but not a substantial

     factor as the law requires. See McCasland, 2018 WL 5786164, at *2. And Dr. Rosenzweig

     further conceded that “[t]here is no specific medical record or testimony that links the

     dyspareunia to the Advantage Fit.” Id. at 295:7–8.

            At bottom, Dr. Rosenzweig never testified that the Advantage Fit was “more likely than

     not” a “substantial factor” in causing any of Ms. Bayless’s alleged injuries. He testified the

     opposite: that the Advantage Fit sling did not cause mesh erosions/exposures, vaginal bleeding,

     or infection at all, and that it was at most “a minimal contributor” to the (improper) new claim

     of dyspareunia. 3 Ex. D at 200:19–22. In fact, he acknowledged that Ms. Bayless was “quite

     satisfied with the sling surgery.” Id. at 294:23. Because Plaintiff’s sole expert on specific cau-

     sation has not opined and cannot opine that the Advantage Fit was more likely than not a

     substantial factor in bringing about the Plaintiff’s claimed injuries, summary judgment should

     be granted in favor of Boston Scientific.




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        Dr. Rosenzweig’s opinion about dyspareunia is improper because it was not disclosed in his
     Case-Specific Report. Fed. R. Civ. P. 26(a)(2)(B) requires expert reports to include “a com-
     plete statement of all opinions the witness will express and the basis and reasons for them,”
     and Rule 26(a)(2)(D) and 26(e)(2) require supplementation. Offering new opinions in deposi-
     tion is untimely. See, e.g., Romero v. Drummond Co., 552 F.3d 1303, 1323 (11th Cir. 2008)
     Indeed, Ms. Bayless herself did not even list dyspareunia on her Plaintiff Fact Sheet (Ex. K)
     as one of her claimed injuries, and in fact she told her doctors that she experienced dyspareunia
     before her August 9, 2013 surgery. See Ex. F at BAYLESSR_PLTF_000203. In any event, a
     “minimal contributor” is far less than a “substantial causative factor.”




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            B.      Plaintiff’s failure-to-warn claims against Boston Scientific fail as a matter
                    of law.

            Plaintiff’s claims based on strict liability and negligent failure to warn fail as a matter

     of law because (1) Boston Scientific owed no duty to warn Plaintiff directly; (2) its warnings

     to Plaintiff’s surgeon were adequate as a matter of law; and (3) and Plaintiff cannot establish

     that any alleged inadequate warnings were the proximate cause of her alleged injuries.

                    1.      Boston Scientific did not owe a duty to warn Plaintiff directly.

            Under Florida’s “learned intermediary doctrine,” a medical device manufacturer’s duty

     to warn runs to the physician, not to the patient. Christopher v. Cutter Labs., 53 F.3d 1184,

     1192 (11th Cir. 1995); Baker v. Danek Med., 35 F. Supp. 2d 875, 881 (N.D. Fla. 1998); Buck-

     ner v. Allergan Pharm., Inc., 400 So. 2d 820, 822-23 (Fla. 5th DCA 1981). To the extent

     Plaintiff alleges that Boston Scientific owed and breached a duty to warn her directly of the

     potential risks associated with the Advantage Fit, that claim fails because a prescription med-

     ical device manufacturer has no duty to warn a patient directly. See, e.g., Cutter Labs., 53 F.3d

     at 1192; Buckner, 400 So. 2d at 822. A prescription medical device manufacturer like Boston

     Scientific owes a duty to warn only the prescribing physician of potential risks associated with

     the device’s use, and it is up to the physician to communicate those risks to the patient. Upjohn

     Co. v. MacMurdo, 562 So. 2d 680, 683 (Fla. 1990) (holding that the “manufacturer’s duty to

     warn of the drug’s dangerous side effects is directed to the physician rather than the patient”);

     Beale v. Biomet, Inc., 492 F. Supp. 2d 1360, 1365-70 (S.D. Fla. 2007).




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                    2.      The Advantage Fit DFU unambiguously warned Dr. Jones of the
                            complications alleged by Ms. Bayless.

            To establish a failure-to-warn claim, “a plaintiff must show (1) that the product warning

     was inadequate; (2) that the inadequacy proximately caused her injury; and (3) that she in fact

     suffered an injury from using the product.” Eghnayem v. Bos. Sci. Corp., 873 F.3d 1304, 1321

     (11th Cir. 2017). When the claim involves a prescription medical product, a plaintiff must

     present sufficient expert testimony as to how the manufacturer's warnings were inadequate.

     Nunez v. Coloplast Corp., — F. Supp. 3d —, 2020 WL 2561364, at *3 (S.D. Fla. May 20,

     2020). However, the question of the adequacy of warnings can be resolved as a matter of law

     “where the warning is accurate, clear, and unambiguous.” Felix v. Hoffmann-LaRoche, Inc.,

     540 So. 2d 102, 105 (Fla. 1989); Nunez, 2020 WL 2561364, at *3.

            Whether a failure-to-warn claim is grounded in strict liability or negligence, the critical

     inquiry “is whether [the warning] was adequate to warn the physician of the possibility that

     the [medical device] may cause the injury alleged by the plaintiff.” Small v. Amgen, Inc., 134

     F. Supp. 3d 1358, 1367 (M.D. Fla. 2015) (Steele, J.) (emphasis added) (citing Upjohn, 562 So.

     2d at 683), aff’d, 723 F. App’x 722 (11th Cir. 2018).

            The undisputed facts show that Boston Scientific adequately warned Plaintiff’s sur-

     geon, Dr. Jones, of the risks associated with the Advantage Fit sling, including the very injuries

     claimed by Plaintiff. Plaintiff’s claimed injuries include mesh exposure, infection, bleeding,

     pain, and dyspareunia (painful intercourse). Ex. G at 52:20-23, 102:13-103:11, 110:10-111:25;

     Ex. K at 7–8. The Advantage Fit DFU—which was provided with the packaging of each Ad-

     vantage Fit sling and publicly available—warns of all these risks, among other potential com-

     plications. See Ex. B at 7 (listing infection, pelvic and vaginal pain, vaginal bleeding,




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     dyspareunia, incontinence, inflammation, and erosion). Because the Advantage Fit DFU

     warned of the complications that Plaintiff claims she experienced with the Advantage Fit sling,

     the warnings are adequate as a matter of law, and Boston Scientific is entitled to summary

     judgment. Felix, 540 So. 2d at 102; Beale, 492 F. Supp. 2d at 1369; Nunez, 2020 WL 2561364,

     at *4 (granting summary judgment on failure to warn claims where the court “reviewed the

     [Instructions for Use] extensively and f[ound] them to be adequate as a matter of law”).

                    3.      Any alleged inadequacies in Boston Scientific’s warnings were not
                            the proximate cause of Plaintiff’s injuries.

            Even if this Court declines to find that the Advantage Fit warnings were adequate as a

     matter of law, Plaintiff’s failure-to-warn claims nonetheless fail because any alleged inade-

     quacy in the warnings did not affect Dr. Jones’s use of the medical device. “[T]he adequacy of

     the warning is irrelevant if the prescribing physician . . . has knowledge of the risks and benefits

     of the drug and would have prescribed the drug anyway had the warnings been different.”

     Chase v. Novartis Pharm. Corp., 740 F. Supp. 2d 1295, 1296-97 (M.D. Fla. 2006) (Lazzara,

     J.); see also Tillman v. C.R. Bard, Inc., 96 F. Supp. 3d 1307, 1335 (M.D. Fla. 2015) (Morales

     Howard, J.) (“failure of the manufacturer to provide the physician with an adequate warning is

     not the proximate cause of a patient’s injury if the prescribing physician had independent

     knowledge of the risk that an adequate warning should have communicated”).

            Here, the undisputed evidence demonstrates that Dr. Jones knew of the risks and ben-

     efits associated with the Advantage Fit sling—gathered over 20 years of implanting the Ad-

     vantage Fit sling and other polypropylene mesh slings—and additional warnings would not

     have changed her decision to utilize the Advantage Fit to treat Plaintiff’s SUI.




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            First, Dr. Jones’ deposition testimony establishes her extensive knowledge of the risks

     and potential complications associated with the Advantage Fit sling based on information

     sources other than Boston Scientific. These sources included her personal experience implant-

     ing slings; her training of other physicians on how to implant mesh slings; her training along-

     side other physicians; and continuing medical education. See Ex. E at 20:1–2; 21:4–8 (Dr.

     Jones has implanted over 500 slings over her 20-year career), 24:1–2, 127:8-14.

            Dr. Jones testified that she was aware of the risks associated with the Advantage Fit

     sling, including the precise risks that Plaintiff claims to have experienced here. See id. at 31:21–

     25, 32:15–25, 33:21–34:3, 65:8–11 (testifying about the risk associated with cigarette smok-

     ing), 127:25–128:17 (identifying risk of continued SUI, urinary retention, erosion, exposure

     pain, and dyspareunia). Dr. Jones also testified that she informed Plaintiff of the risks associ-

     ated with implantation of the Advantage Fit sling and that she believed Ms. Bayless understood

     all the potential risks. Id. at 133:21–134:12; see also Ex. H (signed consents). Dr. Jones also

     testified that it was her routine to read and relay to patients the 2011 FDA warnings related to

     the use of polypropylene mesh in pelvic surgeries. Ex. E at 132:2–8 (available online at 2011

     FDA Safety Communication).

            Furthermore, the consent forms provided by Dr. Jones—and signed by Ms. Bayless—

     unequivocally establish that Dr. Jones was aware of the risks associated with the implantation

     of polypropylene mesh slings like the Advantage Fit. Ex. H. The signed consent form titled

     “Augmentation Graft Consent Form” provides as follows:

                    In the case of synthetic mesh, this material is permanent and is
                    routinely used in general surgery to repair abdominal wall her-
                    nias. When mesh is used in gynecological surgery, there is a
                    5-10% chance that this mesh can cause delayed healing and



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                    eventually erode into the vagina, requiring a second surgery
                    to remove it.

     Ex. H at 6 (emphasis in original). Other signed consent forms warn of numerous risks including

     bleeding, infection, pain with sexual intercourse, damage to the urinary system, worsening

     incontinence, and even death. Ex. H at 1, 4–5. At bottom, these consent forms provided by Dr.

     Jones to Plaintiff establish that Dr. Jones was aware of the risks associated with the Advantage

     Fit. Dr. Jones’s independent knowledge of the risks forecloses any conclusion that any alleged

     failure to warn by Boston Scientific proximately caused Plaintiff’s injuries. See Small, 134 F.

     Supp. 3d at 1371–72 (“[A]ny representations made by defendants’ sales representative are ir-

     relevant if [prescribing doctor] had independent knowledge of the possibility that [defendant]

     could cause the injuries sustained by [plaintiff]. [Plaintiff’s doctor’s] testimony clearly shows

     that she knew of the risks associated with Enbrel before she spoke to the sales representative.”);

     Baker, 35 F. Supp. 2d at 881–82 (granting summary judgment on failure-to-warn claims where

     implanting surgeon “was fully aware of all the risks and benefits of implant[ing] the defend-

     ant’s devices” based on his extensive training and experience with the product).

            Second, Plaintiff is also unable to demonstrate that the disclosure of any additional

     risks by Boston Scientific would have changed Dr. Jones’s prescribing decision. On the con-

     trary, Dr. Jones testified that that any additional warning would not have changed her decision

     to prescribe the Advantage Fit sling for Plaintiff’s SUI. Ex. E at 40:5–21. Dr. Jones testified

     that her risk-benefit conversation in 2008-09 is the same risk-benefit discussion she would

     have had in 2014–15. Id. at 34:8–19. Appreciating the known risks, Dr. Jones believed that

     Plaintiff “was a candidate for these procedures.” Id. at 28:20–29:5. This is because the




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     Advantage sling was not only “an appropriate treatment option for Ms. Bayless,” but the “gold

     standard” for treatment of SUI. Id. at 31:21–25, 125:10–16; 125:17–126:6.

             In sum, summary judgment should be entered on Plaintiff’s failure-to-warn claims be-

     cause Dr. Jones was aware of the risks associated with the Advantage Fit; Dr. Jones rejected

     any notion that additional warnings would have altered her selection of the product; and Dr.

     Jones believed—and continues to believe—that the Advantage Fit and similar polypropylene

     mesh midurethral slings are the gold standard for treatment of SUI. See Timmons v. Purdue

     Pharm. Co., No. 8:04-CV-1479-T-26MAP, 2006 WL 263602, at *4 (M.D. Fla. Feb. 2, 2006)

     (Lazzara, J.) (summary judgment was appropriate when plaintiffs’ treating physicians did not

     “purport to say that had the written warnings and promotional materials contained different

     [warnings], it would have made a difference in their selection” of treatment); Beale, 492 F.

     Supp. 2d at 1371 (where surgeon testified “he was aware of all the risks associated with the

     device, and that he believed — and still believes — that the Plaintiffs were appropriate candi-

     dates for the device . . . the causal link is broken” and failure-to-warn claims fail as a matter of

     law).

             C.     Plaintiff’s punitive damages claim fails under Massachusetts law.

             The Court should reject Plaintiff’s punitive damages claim (Count IX). Under Florida’s

     choice-of-law rules, Plaintiff’s punitive damages claim is governed by Massachusetts law, and

     Massachusetts prohibits punitive damages unless expressly authorized by statute. Because no

     Massachusetts statute provides for recovery of punitive damages in an action alleging product

     liability, Plaintiff’s punitive damages claim fails as a matter of law.




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                     1.      Massachusetts law governs punitive damages.

             Under Florida’s choice-of-law rules (applicable in diversity), punitive damages are

     governed by the law of the state where the defendant was headquartered and made its decisions

     concerning the design, labeling, marketing, and distribution of the product. Salinero, 400 F.

     Supp. 3d at 1357. The U.S. District Court for the Southern District of Florida (Judge Ursula

     Ungaro) recently reached this result in the Salinero pelvic mesh case. Id.

             Salinero recognized that in a diversity case the Court must apply Florida’s conflict of

     law principles in determining which state’s law applies, and that Florida has adopted the “sig-

     nificant relationship test” set forth in the Restatement (Second) of Conflict of Laws §§ 145–

     146. Salinero, 408 F. Supp. 3d at 1356. Under that test, the Court must (1) “identify the sover-

     eigns with interests in applying their laws to the . . . dispute,” (2) determine whether a true

     conflict exists between the laws of the interested jurisdictions, and if so (3) “determine which

     sovereign’s interest is the most ‘significant.’” Id. at 1356–57.

             On the first two prongs, the Court concluded that the states interested in the punitive

     damages issue, whose laws conflicted, were Florida (where the plaintiff resided and the mesh

     was implanted) and New Jersey (where the defendant was headquartered and conducted its

     “corporate activities and decision-making as to the design, labeling, marketing, and distribu-

     tion of [the mesh]”). Id. On the third prong, the Court held that, in determining which state’s

     interest is the most significant, it must consider “‘the purpose sought to be achieved by the rule

     of tort law involved” and “[i]f this purpose is to punish the tortfeasor and thus to deter others

     from following his example, there is better reason to say that the state where the conduct oc-

     curred is the state of dominant interest and that its local law should control than if the tort rule




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     is designed primarily to compensate the victim for his injuries.’” Id. at 1357 (quoting Restate-

     ment (Second) of Conflict of Laws § 145, cmt. e). The Court concluded that “[b]ecause puni-

     tive damages are meant to deter or punish misconduct, the state where the allegedly defective

     product was designed and manufactured—that is, New Jersey—has a superior interest here.”

     Id.

             Salinero cited several cases reaching the same conclusion in similar circumstances:

     Dopson-Troutt v. Novartis Pharms. Corp., No. 8:06-CV-1708-T-24-EAJ, 2013 WL 3808205

     at *4 (M.D. Fla. July 22, 2013) (Bucklew, J.); Krause v. Novartis Pharms. Corps., 926 F. Supp.

     2d 1306, 1310–12 (N.D. Fla. 2013); Bellew v. Ethicon, Inc., No. 2:13-cv-22473, 2014 WL

     6674433, at *2 (S.D.W. Va. Nov. 24, 2014) (applying Arizona conflicts-of-law principles, also

     based on the Second Restatement, and concluding that New Jersey law applies to punitive

     damages claims); and Lewis v. Ethicon, Inc. (In re Ethicon, Inc., Pelvic Repair Sys. Prods.

     Liab. Litig.), MDL No. 2327, Nos. 2:12-MD-02327, 2:12-cv-4301, 2014 WL 186869, at *9–

     10 (S.D.W. Va. Jan. 15, 2014) (applying Texas conflicts-of-law principles, also based on the

     Second Restatement, and concluding that New Jersey law applies to punitive damages claims),

     rev’d in part on other grounds, 2014 WL 457551 (S.D.W. Va. Feb. 3, 2014). See Salinero, 408

     F. Supp. 3d at 1357–58. The discussion of this issue in Krause (also involving a medical prod-

     uct) is especially pertinent:

             Defendant argues that although the injuries occurred in Florida, and thus com-
             pensatory damages are governed by Florida law, New Jersey has a more signif-
             icant relationship to the issue of punitive damages than Florida because the con-
             duct giving rise to the claim seeking to punish the defendant for a failure to
             warn occurred at its place of business. The court agrees that this factor favors
             application of New Jersey law on this issue, because, in relation to the issue of
             punitive damages, the relevant misconduct occurred in New Jersey and the
             place where the injury occurred is “simply fortuitous” to the failure to warn



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             claim. . . . The corporate decisions with respect to labeling, packaging, and
             warning were made at the corporation’s offices in New Jersey, and thus the
             conduct relevant to the claim of failure to warn or to educate . . . medical pro-
             fessionals . . . occurred in New Jersey. . . .

             Other courts that have applied the Restatement (Second) Conflict of Laws anal-
             ysis in similar circumstances have chosen to apply the punitive damages law of
             the state in which the tortfeasor’s alleged wrongful conduct occurred as having
             the most significant relationship. . . . The court finds the reasoning articulated
             in these cases to be sound. Moreover, it is consistent with commentary of the
             Restatement, which instructs, “when the primary purpose of the tort rule in-
             volved is to deter or punish misconduct, the place where the conduct occurred
             has peculiar significance.” Restatement (Second) Conflict of Laws § 145, cmt.
             e.

     Krause, 926 F. Supp. 2d at 1310–12 (case citations omitted).

             Many other Florida federal diversity cases with similar circumstances have applied the

     same reasoning to choose the punitive damages law of the state where the defendant’s alleged

     conduct occurred. See Davis v. Main St. Family Pharmacy, LLC, No. 5:16CV45-MW/GRJ,

     2017 WL 3597509, at *2 (N.D. Fla. Apr. 4, 2017) (“The alleged misconduct to be punished by

     a punitive-damage award—that is, Defendant’s decisions as to the manufacturing, labeling,

     and [other] efforts—all occurred in Tennessee. . . . Thus, despite the fact that Plaintiff’s injuries

     occurred in Florida, the state with the most significant relationship to the punitive-damages

     issue in this case is Tennessee.”); Kirchman v. Novartis Pharm. Corp., No. 8:06-CV-1787-T-

     24, 2014 WL 2722483, at *4 (M.D. Fla. June 16, 2014) (Bucklew, J.); Dopson-Troutt, 2013

     WL 3808205, at *4; Guenther v. Novartis Pharm. Corp., No. 6:08-CV-456-ORL-31, 2013 WL

     1225391, at *2 (M.D. Fla. Mar. 27, 2013) (Presnell, J.); Chiles v. Novartis Pharm. Corp., 923

     F. Supp. 2d 1330, 1333 (M.D. Fla. 2013) (Adams, J.). 4 This conclusion faithfully follows the


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      Eghnayem v. Bos. Sci. Corp., No. 2:13-CV-07965, 2014 WL 5386731, at *3–5 (S.D.W. Va.
     Oct. 21, 2014), in applying Florida’s choice-of-law rules, reached the opposite conclusion from



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     Second Restatement’s directive that “when the primary purpose of the tort rule involved is to

     deter or punish misconduct, the place where the conduct occurred has peculiar significance.”

     Restatement (Second) of Conflict of Laws § 145, cmt. e.

             Here, there is no dispute that Boston Scientific is headquartered in Massachusetts (see

     Master Long Form Complaint at ¶ 3, Attachment 4 to MDL Doc. 60 and attached hereto as

     Exhibit N), where it made all the decisions regarding the design and warnings regarding the

     Advantage Fit sling at issue. Nor is there any dispute that a true conflict exists between Florida

     and Massachusetts law regarding punitive damages. Florida law allows punitive damages, sub-

     ject to caps. Fla. Stat. § 768.72–73. Massachusetts law allows punitive damages only if ex-

     pressly authorized by statute. Flesner v. Tech. Commc’ns Corp., 410 Mass. 805, 813 (1991).

     As discussed below, no such Massachusetts statute applies here.

             A jurisdiction may have the most significant interest even if it does not allow punitive

     damages. See Judge v. Am. Motors Corp., 908 F.2d 1565, 1570–71 (11th Cir. 1990) (recogniz-

     ing that defendant’s home state of Michigan, which does not allow punitive damages, “has a

     strong interest in applying its rules” since its “punitive damage prohibition is informed by the

     economic desire to ‘encourage socially useful enterprise by relieving entrepreneurs from what

     the legislature regards as an oppressive risk of liability.’”) (quoting B. Currie, Selected Essays

     on the Conflict of Laws 704 (1963)); Sergeon v. Gen. Motors Corp., No. 3:04CV301J99HTS,

     2005 WL 1711093, at *4 (M.D. Fla. July 20, 2005) (Schlesinger, J.) (“Michigan law, which

     bars punitive damages, must be applied to this case” under Florida choice-of-law rules, when

     the alleged defective design occurred in Michigan). That is true here.


     these Florida federal district courts.



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             Massachusetts protects its citizens, including its manufacturers, from punitive damages

     under common law. Int’l Fid. Ins. Co. v. Wilson, 443 N.E.2d 1308, 1317 n.20 (Mass. 1983).

     Punitive damages are available only if expressly authorized by statute, which, as explained

     infra, is not the case here. See id. (holding “under Massachusetts law, punitive damages may

     be awarded only by statute”); Mass. G.L. c. 93A, § 9 (authorizing exemplary damages under

     the Consumer Protection Act in certain actions for unfair and deceptive trade acts involving

     fraud and concealment, and requiring pre-suit notice); Mass. G.L. c. 229 (authorizing punitive

     damages under wrongful death statute for gross negligence or malicious, willful, wanton, or

     reckless conduct). This “tort rule” is designed to protect Massachusetts’s citizens “from exces-

     sive liability and thus to encourage businesses to locate and conduct economic affairs in the

     jurisdiction.” Freeman v. World Airways, Inc., 596 F. Supp. 841, 846 (D. Mass. 1984).

             Citizens of Massachusetts, like Boston Scientific, therefore “reasonabl[y] expect[] that

     Massachusetts law [will] govern [their] conduct and risk.” Dean ex rel. Estate of Dean v. Ray-

     theon Corp., 399 F. Supp. 2d 27, 33 (D. Mass. 2005). “Under § 6 of the Restatement, respect

     should be given to a policy decision of the state of the alleged misconduct as to when to permit

     punitive damages and when to deny them.” Id. (domiciliary state’s interest in the issue of pu-

     nitive damages is generally regarded as weaker than its interest in compensatory damages); see

     In re Air Crash Disaster Near Chi., Ill., 644 F.2d 594, 612–13 (7th Cir. 1981) (“[D]omiciliary

     states [do not] have an interest in imposing punitive damages on the defendants. The legitimate

     interests of these states, after all, are limited to assuring that the plaintiffs are adequately com-

     pensated . . . .”); Emmart v. Piper Aircraft Corp., 659 F. Supp. 843, 846 (S.D. Fla. 1987)

     (Florida has no interest in punishing a foreign corporation where the majority of its conduct




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     underlying plaintiff’s request for punitive damages did not occur in Florida); Chiles, 923 F.

     Supp. at 1332–33 (granting defendant’s motion to apply New Jersey law because the relevant

     conduct at issue primarily took place in New Jersey).

            This Court should adopt the same reasoning applied by the Court in Salinero (and many

     other Florida federal courts) and find that Massachusetts law, not Florida law, governs Plain-

     tiff’s claims for punitive damages.

                    2.      Massachusetts law does not authorize an award of punitive dam-
                            ages under these circumstances.

            Massachusetts law does not permit an award of punitive damages “unless expressly

     authorized by statute.” Flesner, 575 N.E.2d at 1112. No Massachusetts statute provides for

     recovery of punitive damages in an action alleging product liability. Therefore, punitive dam-

     ages are barred unless brought along with a concomitant claim for wrongful death under Mas-

     sachusetts General Laws chapter 229, Section 2, or a concomitant claim for unfair and decep-

     tive acts or practices under the consumer protection statute, Massachusetts General Laws chap-

     ter 93A.

            Under the Massachusetts wrongful death statute, punitive damages are permitted

     “where the decedent’s death was caused by the malicious, willful, wanton or reckless conduct

     of the defendant or by the gross negligence of the defendant.” Alea v. SLB Toys USA, Inc., 995

     N.E.2d 740, 753–54 (Mass. 2013) (internal citations omitted). This statute is inapplicable here.

            To assert a claim under the Massachusetts consumer protection statute, a plaintiff must

     show unfair and deceptive trade practices that are “willful and knowing” or show that “refusal

     to grant relief [as requested in a pre-suit demand letter] was made in bad faith with knowledge

     or reason to know that the act or practice complained of violated [chapter 93A].” Mass. Gen.




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     Laws Ann. Ch. 93A, § 9. Plaintiff has not pled a claim under chapter 93A. All of her substan-

     tive claims (negligence, strict liability design defect, and strict liability failure-to-warn) have

     been pled under, and are governed by, Florida substantive law.

            Nor could she assert a Massachusetts consumer protection claim. A plaintiff who brings

     a product liability action under chapter 93A must send the prospective defendant a demand

     letter at least 30 days before filing suit. Mass. Gen. Laws Ann. Ch. 93A, § 9(3). Failure to send

     a demand letter is an absolute defense in a Consumer Protection Act claim. Heller v. Silver-

     branch Constr. Corp., 382 N.E.2d 1065, 1070 (Mass. 1978); Nader v. Citron, 360 N.E.2d 870,

     873–75 (Mass. 1977) (abrogated on other grounds); Entrialgo v. Twin City Dodge, Inc., 333

     N.E.2d 202, 204 (Mass. 1975) (“A demand letter . . . is a prerequisite to suit . . . , the absence

     of which is a bar to suit.”). Here, no demand letter was sent before the Plaintiff filed suit in

     2019. Thus, under Massachusetts law, punitive damages are not authorized in this case.

                                             CONCLUSION

            For these reasons, the Court should grant Boston Scientific’s Dispositive Motion for

     Summary Judgment on each of the remaining claims in Plaintiff’s Short Form Complaint.

     Dated: October 1, 2020.

                                                    /s/ Traci T. McKee .
                                                    Traci T. McKee, Esq., Attorney No. 53088
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                                                    Attorneys for Defendant
                                                    Boston Scientific Corporation




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                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on October 1, 2020, I filed the foregoing in the CM/ECF

     system, which will serve electronic copies upon all counsel of record.

                                          /s/ Traci T. McKee
                                          Traci T. McKee, Esq., Attorney No. 53088




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                                       LIST OF EXHIBITS

     A. Advantage Fit FDA Clearance Letter (BSCM00100000002-04)

     B. Advantage Fit System Directions for Use (BSCM00800000546-597)

     C. Dr. Bruce Rosenzweig’s Case-Specific Expert Report (June 4, 2018)

     D. Deposition of Dr. Bruce Rosenzweig (Aug. 17, 2020)

     E. Deposition of Kathy Jones, M.D. (Sept. 12, 2018)

     F. Medical records (excerpts), including Aug. 9, 2013 Operative Report

     G. Deposition of Raeann Bayless (June 6, 2018)

     H. Surgical consent forms signed by Raeann Bayless (Ex. 2 to Deposition of Raeann Bay-
        less)

     I. AUGS (American Urogynecologic Society) brochure, “Sacrocolpopexy” (available at
        https://www.voicesforpfd.org/assets/2/6/Sacrocolpopexy.pdf)

     J. AUGS (American Urogynecologic Society) brochure, “Mid-urethral Sling for Stress Uri-
        nary Incontinence” (available at https://www.voicesforpfd.org/assets/2/6/Mid-ure-
        thral_Sling.pdf)

     K. Amended Plaintiff Fact Sheet

     L. Plaintiffs’ Designation and Disclosure of Case-Specific Expert Witnesses (July 13, 2018)

     M. Boston Scientific’s Notice of Videotape Deposition Duces Tecum of Dr. Bruce
        Rosenzweig (Oct. 3, 2018)

     N. Master Long Form Complaint filed in MDL 2326 (Doc. 60, attachment 4)




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